Case 1:22-cv-22871-JEM Document 10 Entered on FLSD Docket 11/16/2022 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


  AISHIA PETERSEN,

         Plaintiff,

  v.                                                            Case No. 1:22-cv-22871-JEM

  AESOP USA, INC.,

         Defendant.
                                                /

                               JOINT NOTICE OF SETTLEMENT

         Plaintiff Aishia Petersen and Defendant AESOP USA, INC., hereby notify the Court that

  the parties have reached an agreement in principle to settle their disputes and are in the process of

  drafting a written Settlement Agreement.

  Dated this the 16th day of November, 2022.


   /s/Acacia Barros                                 /s/David P. Steffen
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  8709561v1
Case 1:22-cv-22871-JEM Document 10 Entered on FLSD Docket 11/16/2022 Page 2 of 2




                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 16th day of November, 2022, I electronically filed the
  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
  document is being served on this day on all counsel of record or pro se parties identified on the
  following Service List in the manner specified, either via transmission of Notices of Electronic
  Filing generated by CM/ECF or in some other authorized manner for those counsel or parties who
  are not authorized to receive electronically Notices of Electronic Filing.



                                       /s/David P. Steffen
                                       Attorney for Defendant

                                      SERVICE LIST
                           AISHIA PETERSEN v. AESOP USA, INC.
                                Case No. 1:22-cv-22871-JEM

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